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                                           Certificate Number: 14912-GAN-DE-032356501
                                           Bankruptcy Case Number: 18-71686


                                                          14912-GAN-DE-032356501




              CERTIFICATE OF DEBTOR EDUCATION

 I CERTIFY that on February 27, 2019, at 8:33 o'clock AM EST, Julmia Penn
 completed a course on personal financial management given by internet by 001
 Debtoredu LLC, a provider approved pursuant to 11 U.S.C. § 111 to provide an
 instructional course concerning personal financial management in the Northern
 District of Georgia.




 Date:   February 27, 2019                 By:      /s/Jai Bhatt


                                           Name: Jai Bhatt


                                           Title:   Counselor
